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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                                CRIMINAL ACTION

VERSUS                                                                                                No. 06-269

TONY JONES                                                                                           SECTION I



                                         ORDER AND REASONS

          Before this Court is the motion1 of defendant, Tony Jones (“Jones”), to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255. For the following reasons, Jones’s motion

is DENIED and DISMISSED WITH PREJUDICE.

                                               BACKGROUND

          On November 3, 2006, Jones was charged by way of a superseding indictment with four

counts of violating various narcotics and firearms offenses.2 On September 20, 2007, Jones

entered a plea of guilty to counts 1 and 2 of the superseding indictment.3 On the same date,

Jones entered into a plea agreement with the government and signed a factual basis admitting his

guilt.4

          On January 31, 2008 the Court sentenced Jones to 240 months imprisonment.5 The Court

noted that the factual basis and the superseding bill of information stated that Jones was

1
  R. Doc. No. 417.
2
  R. Doc. No. 12.
3
  Count 1 charged Jones with conspiring to possess with the intent to distribute 50 grams or more of cocaine base
(“crack”) and a quantity of cocaine hydrochloride, a quantity of heroin and a quantity of marijuana in violation of
Title 21, United States Code, Section 841(a)(1), 841(b)(1)(A), 841(b)(1)(C) and 841(b)(1)(D); all in violation of
Title 21, United States Code Section 846. Count 2 charged Jones with conspiring to use and carry firearms, and
possess firearms in furtherance of a drug trafficking crime in violation of Title 18, United States Code, Section
924(o). Id.
4
  R. Doc. Nos. 283,284. In the plea agreement, Jones agreed to waive both his appellate and post-conviction rights,
but the government has advised the Court that it will not seek to enforce the waiver as it relates to the issue of
sentencing enhancement pursuant to Title 21, United States Code, Section 851. R. Doc. No. 422.
5
  R. Doc. No. 322.


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convicted in state court on March 7, 2003, for possession of heroin.6 Pursuant to Title 21, United

States Code Section 841(b)(1)(A), the prior felony conviction for a narcotics-related offense

subjected Jones to a mandatory minimum sentence of 240 months.

         At sentencing, Jones objected to the imposition of a 20-year mandatory minimum

sentence.7 Jones argued that the conduct described in the superseding bill of information was

part and parcel of the conspiratorial offense conduct and that it should not have been used to

enhance his sentence.8 The Court overruled Jones’s objection and found that “[i]n light of the

fact that he continued to participate in the criminal conspiracy charge in this case after his

conviction in state court, his March 7th, 2003 conviction[] constitutes [a] distinct criminal

episode[] sufficient to trigger a sentence enhancement.”9

         Jones then filed a timely notice of appeal.10 In his appeal to the United States Fifth

Circuit Court of Appeals, Jones asserted that his sentence was improperly enhanced pursuant to

Title 21, United States Code, Section 841(b)(1)(A).11 Jones argued that because he was

convicted of the state felony drug offense during the time period of the conspiracy alleged in the

federal indictment, the state felony drug conviction could not have been a “prior conviction” for

purposes of § 841(b)(1)(A).12 The Fifth Circuit affirmed the conviction and sentence, stating that

“[t]he sentence enhancement was proper because Jones’s 2003 state felony drug conviction was




6
  R. Doc. No. 344, p.8.
7
  Id.
8
  Id.
9
  Id. (citing U.S. v. Lino, 493 F.3d 41, 43-44 (1st Cir. 2007); U.S. v. Wheelock, 1994 WL 171737 *3, (5th Cir. 1994;
U.S. v. Brown, 29 F.3d 953, 957 (5th Cir. 1994)).
10
   R. Doc. No. 325.
11
   R. Doc. No. 397.
12
   Id.


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final well before the 2006 end of the conspiracy as alleged in the federal indictment.”13 On

November 3, 2009, the United States Supreme Court denied a writ of certiorari.14

        On October 25, 2010, Jones filed this timely motion to vacate pursuant to 28 U.S.C. §

2255 alleging: (1) that the Court erred in improperly enhancing his sentence using a prior state

court drug conviction and (2) that his counsel was ineffective for failing to argue that the

predicate drug felony could not be used as an enhancement since it was an overt act of the

conspiracy, not just another crime that took place during the period of the conspiracy.15 The

government has responded to the motion.16

                                      LAW AND ANALYSIS

I. OVERVIEW OF § 2255

        Section 2255(a) provides a prisoner in custody with four grounds upon which relief may

be granted: (1) “that the sentence was imposed in violation of the Constitution or laws of the

United States”; (2) “that the court was without jurisdiction to impose such sentence”; (3) “that

the sentence was in excess of the maximum authorized by law”; or (4) that the sentence “is

otherwise subject to collateral attack.” 28 U.S.C. § 2255(a) (2008); see Hill v. United States, 368

U.S. 424, 426-27, 82 S. Ct. 468, 470, 7 L. Ed. 2d 417 (1962). Section 2255 is designed to

remedy constitutional errors and other injuries that could not be brought on direct appeal and

would result in injustice if left unaddressed. See United States v. Williamson, 183 F.3d 458, 462

(5th Cir. 1999). “[A] proceeding under Section 2255 is an independent and collateral inquiry

into the validity of the conviction....” United States v. Hayman, 342 U.S. 205, 222-23, 72 S. Ct.

263, 274, 96 L. Ed. 232 (1952). If the court determines that the prisoner is entitled to relief “[it]


13
   Id.
14
   R. Doc. No. 411.
15
   R. Doc. No. 417.
16
   R. Doc. No. 421.


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shall vacate and set the judgment aside and shall discharge the prisoner or resentence him or

grant a new trial or correct the sentence as may appear appropriate.” 28 U.S.C. § 2255(b). “The

§ 2255 remedy is broad and flexible, and entrusts to the courts the power to fashion an

appropriate remedy.” United States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992) (citing Andrews v.

United States, 373 U.S. 334, 339, 83 S. Ct. 1236, 1239, 10 L. Ed. 2d 383 (1963)). Pursuant to §

2255, the Court must grant defendant a hearing to determine the issues and make findings of fact

and conclusions of law unless “the motion, files, and records of the case conclusively show that

the prisoner is entitled to no relief.” United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir.

1992).

II. IMPROPER ENHANCEMENT

         Jones argues that the Court erred by enhancing his sentence pursuant to § 841(b)(1)(A)17

to a mandatory minimum of 20 years in prison based on a prior felony drug conviction from state

court that was referred to as an overt act of the federal conspiracy. However, the issue of

whether Jones’s prior state court conviction constituted a proper “prior conviction” enhancement

for purposes of § 841(b)(1)(A) has been addressed both by this Court at sentencing and by the

Fifth Circuit on direct appeal.18 “It is settled in this Circuit that issues raised and disposed of in a

previous appeal from an original judgment of conviction are not considered in § 2255 Motions.”

U.S. v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986). Furthermore, Jones may not avoid this

prohibition by further amplifying his failed argument. See U.S. v. Greer, 600 F.2d 468, 469 (5th

Cir. 1979) (“The contentions made by the present petition are simply further amplification of the


17
   In his petition, Jones refers to his enhancement as a “§ 851 enhancement.” R. Doc. No. 417, p.7. Section 851 sets
forth the specific proceedings by which the government establishes the existence of prior convictions whereas §
841(b)(1)(A) sets forth the penalties for a defendant with a prior conviction for a felony drug offense that has
become final. See 21 U.S.C. §§ 841(b)(1)(A); 851. Since Jones was sentenced pursuant to § 841(b)(1)(A), the Court
interprets petitioner’s references to the “§ 851 enhancement” as the enhancement set forth in § 841(b)(1)(A).
18
   See R. Doc. No. 344; R. Doc. No. 397 (“The issue for appeal is whether the conviction constitutes a ‘prior
conviction’ for purposes of § 841 (b)(1)(A).”).


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same argument made and decided adversely to Greer in his merits appeal. The district court did

not err in dismissing the present petition.”).

        Even if the Court were to interpret Jones’s latest iteration of the same claim as an issue

distinct from the one originally raised on appeal and resolved by the Fifth Circuit, Jones is still

not entitled to relief. Collateral review is fundamentally different from and may not replace a

direct appeal. U.S. v. Frady, 456 U.S. 152, 164-65 (1982); U.S. v. Shaid, 937 F.2d 228, 231 (5th

Cir. 1991). “Allegations of error which are not of constitutional or jurisdictional magnitude

which could have been raised on direct appeal may not be asserted on collateral review in a §

2255 motion.” U.S. v. Garcia, 68 F.3d 466, 1995 WL 581534 *2 (5th Cir. 1995). Constitutional

or jurisdictional errors will be considered only if they could not have been raised on direct

appeal, and if condoned, would result in a complete miscarriage of justice. Shaid, 937 F.2d at

232 n.7. Moreover, a defendant may not raise such issues for the first time on collateral review

without showing both “cause” for his procedural default, and “actual prejudice” resulting from

the error. Id. at 232.

        In his petition, Jones alleges that this Court and the Fifth Circuit committed constitutional

error and violated his rights under the due process clause in failing to rule that the predicate drug

felony conviction could not be used as an enhancement since it was an overt act of the

conspiracy. Even assuming Jones’s allegation of ineffective assistance of counsel suffices to

show “cause” for his failure to raise this argument before the Fifth Circuit, Jones still has made

no showing that “actual prejudice” resulted from the error. Both this Court and the Fifth Circuit

considered whether the 2003 state court conviction was a prior conviction for purposes of §

841(b)(1)(A) and both courts ruled that application of the sentencing enhancement was proper.




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Jones has made no showing of how the fact that his latest argument was not raised in his direct

appeal resulted in any prejudice.

III. INEFFECTIVE ASSISTANCE OF COUNSEL

       Jones alleges that he received ineffective assistance of counsel because his attorney failed

to argue that a predicate drug felony could not be used as an enhancement since it was an overt

act of the conspiracy. To obtain section 2255 relief based on a claim of ineffective assistance of

counsel, a petitioner must show not only that his attorney’s performance was deficient, but also

that the deficiency prejudiced the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984).

In order to demonstrate such a deficiency, the petitioner must prove that counsel’s performance

fell below an objective standard of reasonableness. Id. at 688. To prove that the deficiency

prejudiced the defense, the petitioner must demonstrate a “reasonable probability” that, “but for

counsel’s unprofessional errors, the result of the proceeding would have been different. A

reasonable probability is a probability sufficient to undermine confidence in the outcome.” Id. at

694.

       For the reasons set forth in the preceding section, Jones cannot show that the result of the

sentencing would have been different had his counsel made the arguments he now asserts. Both

this Court and the Fifth Circuit found that application of the sentencing enhancement was proper.

The failure of Jones’s counsel to obtain the relief Jones desired on direct appeal does not entitle

Jones to a claim for ineffective assistance of counsel. See U.S. v. Ancira, 83 F.3d 419, 1996 WL

197558 *3 (5th Cir. Mar. 25, 1996) (denying petitioner’s claim for ineffective assistance of

counsel because “[i]t is well-settled that an issue which has been raised and ruled upon adversely

to a defendant on direct appeal may not be relitigated in the context of a section 2255 motion.”).

Since Jones is unable to show how any alleged deficiency in his counsel’s performance




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prejudiced him and that counsel’s performance fell below an objective standard of

reasonableness, Jones has failed to demonstrate that he received ineffective assistance of counsel.

       Accordingly,

       IT IS ORDERED that Jones’s motion to vacate, set aside, and correct sentence pursuant

to 28 U.S.C. § 2255 is DENIED and that Jones’s petition is DISMISSED WITH PREJUDICE.

       New Orleans, Louisiana, February 9, 2011.




                                                      ___________________________________
                                                           LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE




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